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14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18

19   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
     LITIGATION
20                                                              MDL No. 1917
     This Document Relates To:                                  [PROPOSED] ORDER GRANTING
21
                                                                SHARP’S ADMINISTRATIVE
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE UNDER SEAL
22   Case No. C 13-1173 (SC)
23                                                              (CIVIL LOCAL RULE 79-5)

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             [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                             Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 3:07-cv-05944-JST Document 2533 Filed 04/14/14 Page 2 of 2



 1                 Upon consideration of Sharp’s Administrative Motion to Seal Pursuant to Civil Local

 2   Rules 7-11 and 79-5, submitted in connection with Sharp’s Motion for Leave to Amend the First

 3   Amended Complaint, IT IS HEREBY ORDERED THAT:

 4                 the Administrative Motion is hereby GRANTED; and it is further

 5                 ORDERED that the Clerk shall file and maintain under seal the following documents or

 6   portions of documents related to Sharp’s Administrative Motion to Seal:

 7
            Document                                      Sealed Portions (Page:Line)
 8

 9                                                        i (TOC):11
                                                          3:3
            Sharp Electronics Corporation and Sharp
10                                                        4:2-6
            Electronics Manufacturing Company of
                                                          5:15
11          America, Inc.’s Motion for Leave to Amend
                                                          5:17
            First Amended Complaint (“Sharp’s Motion
                                                          5:20
12          for Leave to Amend FAC”)
                                                          9:12-14
13                                                        11:5
                                                          12:1
14

15          Attachments A and B to Sharp’s Motion for
                                                          ¶¶ 194-197, 237, 238, and 257
            Leave to Amend FAC
16

17
            Declaration of Craig A. Benson in Support
                                                          ¶¶ 2-3
18          of Sharp’s Motion for Leave to Amend FAC

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20   IT IS SO ORDERED.
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22            DATED: April 14, 2014                       _________________________________
23                                                              HON. SAMUEL CONTI
                                                           UNITED STATES DISTRICT JUDGE
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            [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                            Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
